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                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK



IN RE UBIQUITI NETWORKS, INC.        Case No. 18-CV-01620 (VM)
SECURITIES LITIGATION




                DECLARATION OF LUIGGY SEGURA
                IN SUPPORT OF LEAD PLAINTIFF’S
           MOTION FOR APPROVAL OF DISTRIBUTION PLAN
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I, LUIGGY SEGURA, declare and state as follows:

       1.       I am a Director at JND Legal Administration (“JND”). I am over 21 years of age and

am not a party to this action. I have personal knowledge of the facts set forth in this declaration and,

if called as a witness, could and would testify competently thereto.

       2.       JND was retained by Lead Counsel to serve as the Claims Administrator in

connection with the Settlement of the above-captioned action (the “Litigation”).1 Pursuant to

paragraph 8 of the Court’s Order Preliminarily Approving Settlement and Providing for Notice,

dated December 11, 2019 the (ECF No. 40, the “Preliminary Approval Order”), JND was appointed

to act as the Claims Administrator in connection with the proposed settlement of the Action. On

March 27, 2020, the Court entered the Final Judgment Approving Class Action Settlement and Order

of Dismissal With Prejudice (ECF No. 492, the “Final Approval Order”), granting final approval of

the Settlement reached in the Action. Pursuant to the Settlement, $15,000,000 in cash was deposited

into escrow for the Settlement Class’ benefit. The Effective Date of the Settlement has occurred,

and the Net Settlement Fund may be distributed to Authorized Claimants pursuant to Order of this

Court. See Stipulation, ¶¶ 8.1.

       3.       As Claims Administrator, JND has, among other things: (i) mailed the Notice of

Proposed Settlement of Class Action (the “Notice”) and the Proof of Claim and Release form (the

“Proof of Claim Form” or “Claim Form” and, together with the Notice, the “Notice Packet”) to
potential Settlement Class Members and brokers and other nominees; (ii) created and continues to

maintain a toll-free helpline for inquiries during the course of the administration; (iii) designed,

implemented, and launched a case-specific website which became operational on December 26,

2019, and includes the claim-filing deadlines and copies of the Stipulation, Preliminary Approval

Order, Proof of Claim Form, and Notice; (iv) published the Summary Notice; (v) provided, upon

request, additional copies of the Notice Packet to potential Settlement Class Members, brokers, and

other nominees; (vi) received and processed Proof of Claim Forms submitted in connection with the

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  All capitalized terms not otherwise defined herein have the meanings ascribed in the
Stipulation of Settlement dated December 2, 2019 (Dkt. No. 39-1) (“Stipulation”).


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Settlement; (vii) reviewed submitted Proof of Claim Forms for accuracy and completeness and to

ensure that they were supported by sufficient documentary evidence; (viii) provided notice to

Claimants whose claims were deficient or rejected; (ix) worked with Claimants to help fix their

Claims; and (x) calculated Claimants’ recognized loss (“Recognized Loss”), both on an individual

and a Settlement-Class-wide basis, pursuant to the Court-approved Plan of Allocation set forth in

the Notice.

        4.       JND has completed processing all Proof of Claims (“Claims”) received through July

15, 2020, in accordance with the terms of the Stipulation and the Court-approved Plan of Allocation

set forth in the Notice, and hereby submits its administrative determinations accepting and rejecting

the Claims in preparation for a distribution of the Net Settlement Fund to Authorized Claimants.

JND also presents this declaration in support of Lead Plaintiffs’ Motion for Approval of Distribution

Plan.

I.      DISSEMINATION OF NOTICE

        5.       As more fully described in the Declaration of Jack Ewashko Regarding (A) Mailing

of the Notice Packet; (B) Publication of the Summary Notice; and (C) Report on Requests for

Exclusion and Objections Received to Date, dated February 13, 2020 (ECF No. 45-1, the “Initial

Mailing Declaration”) and Supplemental Declaration of Jack Ewashko Regarding (A) Mailing of

Notice Packet; (B) Publication of the Summary Notice; and (C) Report on Requests for Exclusion
and Objections to Date, dated March 20, 2020 (ECF No. 47-3, the “Supplemental Mailing

Declaration.”), as of March 19, 2020, JND had mailed 195,132 Notice Packets to potential

Settlement Class Members and their nominees. Supplemental Mailing Declaration. ¶ 2; see also

Initial Mailing Declaration. ¶¶ 2-12.

        6.       JND      established    and      continues      to     maintain      a      website

(www.UbiquitiNetworksSecuritiesLitigation.com) and a toll-free telephone helpline (1-844-924-

0858) to assist potential Settlement Class Members. The Settlement website (which provides access

to important documents relevant to the Settlement) and the telephone helpline enable Settlement
Class Members to obtain information about the Settlement. In connection with establishing and


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maintaining the Settlement Website and toll-free telephone hotline, JND, among other things,

formulated a system to ensure that proper responses were provided to all telephone and electronic

inquiries. That work included training telephone agents to respond to inquiries specific to the

Settlement; developing a series of common questions and the answers thereto, known as Frequently

Asked Questions, or "FAQs"; loading key documents onto the Settlement Website; and

programming the Settlement Website to permit the viewing and downloading of those documents.

       7.       In accordance with Paragraph 8(b) of the Preliminary Approval Order, on January 6,

2020, JND caused the Summary Notice to be released via Investor Business Daily and on January

10, 2020, via Globe Newswire. Initial Mailing Declaration. ¶ 13.

II.    PROCEDURES FOLLOWED IN PROCESSING CLAIMS

        8.      Under the terms of the Preliminary Approval Order and as set forth in the Notice,

 each Settlement Class Member who wished to be eligible to receive a distribution from the Net

 Settlement Fund was required to complete and submit to JND a properly executed Claim Form

 postmarked or submitted online no later than April 3, 2020, together with adequate supporting

 documentation for the transactions and holdings reported in the Claim. Through July 15, 2020,

 JND has received and fully processed 62,545 Claims (the “Presented Claims”).

       9.       In preparation for receiving and processing Claims, JND: (i) conferred with Lead

Counsel to define the guidelines for processing Claims; (ii) created a unique database to store Claim
details, images of Claims, and supporting documentation (the “Settlement Database”); (iii) trained

staff in the specifics of the Settlement so that Claims would be properly processed; (iv) formulated

a system so that telephone and email inquiries would be properly responded to; (v) developed various

computer programs and screens for entry of Settlement Class Members’ identifying information and

their transactional information; and (vi) developed a proprietary “calculation module” that would

calculate Recognized Claims pursuant to the Court-approved Plan of Allocation of the Net
Settlement Fund stated in the Notice.



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       10.     Settlement Class Members seeking to share in the Net Settlement Fund were directed

in the Notice to submit their Claims to a post office box address specifically designated for the

Settlement. Any correspondence received at the post office box was reviewed and, when necessary,

appropriate responses were provided to the senders.

III.   PROCESSING CLAIMS

       A.      Paper and Online Claims

       11.     Of the 62,545 Presented Claims, 3,123 are paper Claims and 907 were “online”

Claims received through the online filing component of the settlement website. Once received, the

paper Claims were opened and prepared for scanning. This process included unfolding documents,

removing staples, copying nonconforming-sized documents, and sorting documents. This manual

task of preparing the paper Claims is very laborious and time-intensive. Once prepared, paper

Claims were scanned into the Settlement Database together with all submitted documentation.

       12.     Each Claim was assigned a unique Claim number. Once scanned, the information

from each Claim (including the Claimant’s name, address, account number/information from his,

her, or its supporting documentation, and the Claimant’s purchase/acquisition transactions, sale

transactions, and holdings listed on the Claim) was entered into the Settlement Database. Once

entered into the Settlement Database, Claims were reviewed to verify that all required information

had been provided. The documentation provided by the Claimant in support of his, her, or its Claim
was reviewed for authenticity and compared to the information provided in the Claim to verify the

Claimant’s identity and the purchase/acquisition transactions, sale transactions, and holdings listed

on the Claim. Some Claimants provided hundreds of pages of supporting documentation.

       13.     To process the transactions detailed in the Claims, JND utilized internal messages to

identify and classify deficiency or ineligibility conditions existing within those Claims. Appropriate

messages were assigned to the Claims as they were processed. For example, where a Claim was

submitted by a Claimant who did not have any eligible transactions in Ubiquiti securities during the

Settlement Class Period (e.g., the Claimant purchased Ubiquiti securities only after the Settlement
Class Period), that Claim would receive a “Claim-level” message that denoted ineligibility. Similar


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Claim-level ineligible messages were used to denote other ineligible conditions, such as duplicate

Claims. These messages would indicate to JND that the Claimant was not eligible to receive any

payment from the Net Settlement Fund with respect to that Claim unless the deficiency was cured in

its entirety. Examples of Claim-level messages are as follows:

               •   Inadequate Documentation Submitted for Entire Claim

               •   No Supporting Documentation Submitted for Entire Claim

               •   No Purchase Transaction in the Settlement Class Period

       14.     Because a Claim may be deficient only in part, but otherwise acceptable, JND utilized

messages that were applied only to specific transactions within a Claim. For example, if a Claimant

submitted a Claim with supporting documentation for all but one purchase transaction, that one

transaction would receive a “transaction-level” message. The message indicated that although the

transaction was deficient, the Claim was otherwise eligible for payment if other transactions in the

Claim calculated to a Recognized Claim according to the Court-approved Plan of Allocation. Thus,

even if the transaction-level deficiency was never cured, the Claim could still be partially accepted.

Examples of transaction-level messages are as follows:

               •   No Supporting Documentation for Specific Transaction/Position

               •   Inadequate Documentation for Specific Transaction/Position

               •   Illegible Documentation for Specific Transaction/Position
       B.      Electronic Claims

       15.     Of the 62,545 Presented Claims, 58,515 were filed electronically (“Electronic

Claims” or “E-Claims”). Electronic Claims filers (“Electronic Claim Filers” or “E-Claim Filers”)

are typically banks, brokers, nominees and other-third party filers, who file claims on behalf of

numerous claimants.     Because E-Claim Filers typically submit a high volume (hundreds or

thousands) of transactions during the Settlement Class Period on behalf of the beneficial owners,

JND provides E-Claim Filers with the opportunity to mail a computer disc or electronically submit

a file containing all the transactions – rather than provide reams of paper requiring data entry – so
that JND can upload all transactions to the Settlement Database.


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        16.     JND maintains an electronic filing operations team (the “Electronic Filing Team”) to

coordinate and supervise the receipt and handling of all Electronic Claims. In this case, the

Electronic Filing Team reviewed and analyzed each electronic file to ensure that it was formatted in

accordance with JND’s required format and to identify any potential data issues or inconsistencies

within the file. If any issues or inconsistencies arose, JND notified the filer. If the electronic file

was deemed to be in an acceptable format, it was then loaded to the Settlement Database.

        17.     Once each electronic file was loaded, the Electronic Claims were coded with

messages to denote any deficient or ineligible conditions that existed within them. These messages

are similar to those applied to paper Claims. In lieu of manually applying messages, the Electronic

Filing Team performed programmatic reviews on Electronic Claims to identify deficient and

ineligible conditions (such as, but not limited to, price out-of-range issues, out-of-balance conditions,

transactions outside the Settlement Class Period, etc.). The output was thoroughly verified and

confirmed as accurate.

        18.     The review process also included message coding any Electronic Claims that were

not accompanied by a signed Proof of Claim Form, which serves as a “Master Proof of Claim Form”

for all Claims referenced on the electronic file submitted. This process was reviewed by JND’s

Electronic Filing Team and, when appropriate, JND contacted the E-Claim Filers whose submissions

were missing information. This ensured that only fully completed Claims, submitted by properly
authorized representatives of the Claimants, were considered eligible for payment from the Net

Settlement Fund.

        19.     Finally, at the end of the process, JND performed various targeted reviews of

Electronic Claims. Specifically, JND used criteria such as the calculated Recognized Claims and

other identified criteria to message code and reach out to a number of E-Claim Filers and request

that various sample purchases, sales, and holdings selected by JND be documented by providing

confirmation slips or other transaction-specific supporting documentation. These targeted reviews

help to ensure that electronic data supplied by Claimants does not contain inaccurate information.
        C.      Additional Complexities Encountered in Processing Claims


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        20.     JND received a total of 62,545 claims. Approximately 60,744, or about 97%, of the

62,545 Proof of Claims received through July 15, 2020 were partially or wholly ineligible for one or

more reasons, and, therefore, were subjected to the additional processing, correspondence and

telephonic communications described in the section below entitled “The Deficiency Process.”

Notwithstanding the large number of deficient Claim Forms received, only 1 Claimant is still

contesting JND’s administrative rejection of his Claim Form.

        21.     During the processing of Proof of Claims, JND encountered “non-conforming” Proof

of Claims, which, in general, require significantly more work than standard Proof of Claims because

of the information contained in or missing from the Proof of Claim, or because of the manner in

which the Proof of Claim was completed. Non-conforming Claims include, among other conditions,

missing pages, no name or address, Proof of Claims that are blank but submitted with documentation

for JND to complete, and Proof of Claims that are so materially deficient as to make what is being

claimed unrecognizable. A significant amount of time and resources was required to hand review

those Claims.

IV.     EXCLUDED PERSONS

        22.     JND also reviewed all Claims to ensure that they were not submitted by, or on behalf

of, “Excluded Persons,” to the extent that the identities of such persons or entities were known to

JND through the list of Defendants and other excluded persons and entities set forth in the Stipulation
and the Notice and from the Claimants’ certifications on the Proof of Claim Forms. JND also

reviewed all Claims against the list of persons who were excluded from the Settlement Class pursuant

to request.

V.      THE DEFICIENCY PROCESS

        A.      Paper and Online Claims

        23.     Approximately 84% of the paper Claims, (i.e., 2,616 of the 3,123 paper Claims), and

84% of the online Claims (i.e., 765 of the 907 online Claims) were incomplete or had one or more

defects or conditions of ineligibility, such as the Claim not being signed, not being properly
documented, or indicating no eligible transactions in Ubiquiti Securities during the Settlement Class


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Period. The “Deficiency Process,” which primarily involved mailing letters to Claimants and

responding to communications from Claimants by email and/or telephone, was intended to assist

Claimants in properly completing their otherwise deficient submissions so that they could be eligible

to participate in the Settlement.

        24.     If paper of online Claims were determined to be defective, a Notice of Deficient

Claim Submission (“Deficiency Notice”) was sent to the Claimants describing the defect(s) in the

Claims and what, if anything, was necessary to cure the defect(s) in these Claims. The Deficiency

Notice advised Claimants that submission of appropriate information and/or documentary evidence

to complete the Claim had to be sent within twenty (20) days from the date of the Deficiency Notice

or the Claim would be recommended for rejection to the extent that the deficiency or condition of

ineligibility was not cured. The Deficiency Notice also advised Claimants that to contest these

administrative determinations, they were required to submit written statements to JND requesting

Court review of their Claims and setting forth the basis for such requests. JND sent a total of 3,381

Deficiency Notices to Claimants who filed paper or online Claims that JND determined to be

defective. Attached hereto as Exhibit A is an example of a Deficiency Notice.

        25.     Claimants’ responses to Deficiency Notices were scanned into the Settlement

Database and associated with the corresponding Claims. The responses were then carefully reviewed

and evaluated by JND’s team of processors. If a Claimant’s response corrected the defect(s), JND
manually updated the Settlement Database to reflect the changes in the status of the Claim.

        B.      Electronic Claims

        26.     Approximately 98% of the E-Claims, i.e., 57,363 of the 58,515 E-Claims, were

incomplete or had one or more defects or conditions of ineligibility. These 57,363 deficient E-

Claims were filed by a total of 42 E-Claim filers. JND informed each of the 42 E-Claim Filers of

these deficiencies by sending an email (“Deficiency Email”) to the email address included with the

respective E-Claim Filers’ Proof of Claim Form with an attached report containing detailed

information associated with the Claims and indicating which of those Claims within the filing were
deficient and/or rejected (“Deficiency Spreadsheet”).


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        27.     The Deficiency Email sent to the email address of record provided with the Proof of

Claim Form:

                (a)     Notified the filer that any Claims with deficiencies not corrected within

                        twenty (20) days from the date of the email may be rejected;

                (b)     Advised the filer of his, her, or its right to contest the rejection of the

                        Claim(s) and request this Court’s review of JND’s administrative

                        determination within twenty (20) days from the date of the Deficiency

                        Email; and

                (c)     Provided instructions for how to submit corrections.

        28.     The Deficiency Spreadsheet attached to the Deficiency Email identified each of the

individual Claims that were found to be deficient or ineligible and the basis for that deficiency or

condition of ineligibility.

        29.     The E-Claim Filers’ responses were reviewed, scanned and/or loaded into JND’s

database, and associated with the corresponding Electronic Claims. If a response corrected the

defect(s) or affected an Electronic Claim’s status, JND manually and/or programmatically updated

the database to reflect such change in status of the Electronic Claim.

        C.      Calling Campaign to Claimants Who Did Not Cure Deficiencies

        30.     JND also called Claimants with still-deficient Claims to provide them with a final
opportunity to cure the deficiencies in their Claims.

        31.     JND provided assistance to Claimants where possible, depending on the nature

of the deficiency. For example, if a Claimant needed additional supporting documentation,

JND explained the types of documentation that would render the Claim eligible, and how the

Claimant could obtain the necessary documentation. JND also provided some Claimants with

direct phone numbers and email addresses so that Claimants could receive continued

personalized attention and assistance.

        32.     If JND could not reach a Claimant to speak one-on-one, JND left a voice message,
when possible, requesting a return call. JND explained in the voice message it was calling to assist


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the Claimant in remedying outstanding deficiencies in his, her or its Claim. JND also reached out to

Claimants via email if a valid email address was provided in their Claim submission.

          33.   If, in response to a telephone call or email, a Claimant cured the deficiency in his, her

or its Claim by providing the appropriate information and/or supporting documentation, JND

updated the Settlement Database to reflect the change in the status of the Claim.

VI.       DISPUTED CLAIMS

          34.   Claimants were advised they had the right to contest JND’s administrative

determination of deficiencies or ineligibility within twenty (20) days from the date of notification

and that they could request that the dispute be submitted to the Court for review. More specifically,

Claimants were advised in the deficiency notice that, if they disputed JND’s determination, they had

to provide a statement of reasons indicating the grounds for contesting the determination, along with

supporting documentation, and if the dispute concerning the Claim could not otherwise be resolved,

Lead Counsel would thereafter present the request for review to the Court for a final determination.

          35.   JND received 11 requests for court review. JND reached out to each of these

Claimants to fully explain JND’s administrative determination with respect to their Claim and,

through this additional outreach and explanation, 10 Claimants understood the reason for JND’s

determination to reject their Claims and they subsequently withdrew their requests for court review.

Accordingly, there is only 1 outstanding request for court review. Attached hereto as Exhibit B, is
the outstanding request for court review. Below are the details of this outstanding request for court

review.

          36.   Claim DUCNV-QX9HK – The Claimant submitted a timely Claim Form with

supporting documentation. JND completed the processing and review of the six (6) purchase

transactions and six (6) sale transactions, totaling 376 shares, of Ubiquiti common stock and the

corresponding supporting documentation. These transactions all occurred between February 12,

2014 and September 16, 2014. The Plan of Allocation was provided in the Notice of Proposed

Settlement of Class Action. It states, in relevant part, that: “For each share of Ubiquiti Common
Stock purchased during the period May 9, 2013 through September 17, 2017, inclusive… that was


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sold prior to September 18, 2017, the Recognized Loss per share is $0.” (see Section 1.a. on page

13 of the Notice.) Accordingly, this claim did not calculate to a Recognized Loss and is not eligible

to participate in the recovery of this Settlement. On May 7, 2020, JND mailed a letter to the claimant,

informing the claimant that the Claim did not calculate to a Recognized Loss in accordance with the

Plan of Allocation. On May 22, 2020, JND received the Claimant’s response, stating his grounds for

contesting the determination of his Claim. JND reviewed the response, confirmed the determination,

and made several attempts to contact the Claimant to further explain the determination. JND left a

voicemail on May 27, 2020; spoke with the Claimant briefly on June 2, 2020 and advised that JND

would call back to discuss and left another voicemail later that day. JND followed up with an email,

again requesting acknowledgment and/or a response. On June 3, 2020, the Claimant replied and

restated his request for court review.

        37.      As set forth in ¶ 47(a) below, JND recommends the one (1) claim for rejection

because the claim did not to calculate to a Recognized Claim according to the Court-approved Plan

of Allocation.

VII.    LATE BUT OTHERWISE ELIGIBLE CLAIMS

        38.      Of the Presented Claims, 364 were received or postmarked after the April 3, 2020

Claim submission deadline established by the Court. JND processed all late Claims received through

July 15, 2020, and 56 have been found to be otherwise eligible in whole or in part (the “Late But
Otherwise Eligible Claims”). JND has not rejected any Claim received through July 15, 2020, solely

based on its late submission. It is typical, and in fact the norm for courts to accept late filed claims

in securities cases. Therefore, to the extent these claims are eligible but for the fact that they were

late, they are recommended for payment by JND, subject to the Court’s determination.

        39.      However, there must be a final cut-off date after which no more Claims will be

accepted so that there may be a proportional allocation of the Net Settlement Fund and the

distribution may be accomplished. Acceptance of additional Claims or responses to notices of

deficiency received during the finalization of the administration and the preparation of this
application would necessarily require a delay in the distribution. Accordingly, JND also respectfully


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requests that this Court order that no received Claim after July 15, 2020 or Claim adjusted after July

15, 2020, be eligible for payment for any reason whatsoever subject only to the provision of ¶ 50(e)

of the proposed distribution plan discussed below. Lead Counsel approves of this Claim cut-off date.

If the Court adopts the proposed distribution plan, then, after Lead Counsel has determined that

further distributions are not cost-effective and before any contribution of the residual funds to

charity, if sufficient funds remain to warrant the processing of Claims received after July 15, 2020

or Claims adjusted after July 15, 2020, these Claims will be processed and, if any would have been

eligible if timely received, these Claimants may be paid the distribution amounts on a pro rata basis

that would bring them into parity with other Authorized Claimants who have cashed all their prior

distribution checks to the extent permitted by the amount of remaining funds. See ¶ 50(e) below.

With respect to previously-filed Claims that are cured or adjusted after July 15, 2020, such Claims

will be reevaluated upon receipt of the adjustment and, to the extent that they are found eligible for

a distribution or additional distribution, they will be treated in the same manner as Claims received

after July 15, 2020. However, should an adjustment be received that results in a lower Recognized

Claim amount, that adjustment will be made, and the Recognized Claim amount will be reduced

accordingly prior to a distribution to that Claimant.

VIII. QUALITY ASSURANCE

       40.     An integral part of the claim’s administration process is the Quality Assurance
review. Throughout the administration process, JND’s Quality Assurance personnel worked to

verify that Claims were processed properly by ensuring that information was entered correctly into

the database, deficiency and/or rejection message codes were assigned accurately, and deficiency

and/or rejection notification letters were sent appropriately. After all Claims were processed,

deficiency and/or rejection letters were mailed, and Claimants’ responses to the deficiency and/or

rejection letters were reviewed and processed, JND’s Quality Assurance personnel performed

additional Quality Assurance reviews. These final Quality Assurance reviews further ensured the

correctness and completeness of all Claims processed prior to preparing this declaration and all
JND’s final documents in support of distribution of the Net Settlement Fund. As part of the Quality


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Assurance reviews, JND:

               (a)     Verified that all Proof of Claim Forms had signatures of authorized

                       individuals;

               (b)     Verified that true duplicate Claims were identified, verified, and rejected;

               (c)     Verified that persons and entities excluded from the Settlement Class did

                       not file Claims or their Claims were rejected upon review;

               (d)     Performed a final Quality Assurance audit of Claims and all supporting

                       documentation to ensure completeness of Claims;

               (e)     Performed an audit of deficient Claims;

               (f)     Performed additional review of Claims with high Recognized Claim

                       amounts;

               (g)     Audited Claims that were designated invalid;

               (h)     Audited Claims with a Recognized Claim amount equal to zero;

               (i)     Performed other auditing based on Claims completion requirements and the

                       approved calculation specifications based on the Court-approved Plan of

                       Allocation; and

               (j)     Re-tested the accuracy of the Recognized Claim amount calculation

                       program.
       41.     In support of the work described above, JND's computer staff designed and

implemented, and the project team tested, the following programs for this administration: (i) data

entry screens that store Claim information (including all transactional data included on each Claim)

and attach messages and, where necessary, text to denote conditions existing within the Claim; (ii)

programs to load and analyze transactional data submitted electronically for all Electronic Claims;

(iii) a program to compare the claimed transaction prices against the reported market prices to

confirm that the claimed transactions were within an acceptable range of the reported market

prices; (iv) a calculation program to analyze the transactional data for all Claims, and calculate
each Claimant's Recognized Claim based on the Court-approved Plan of Allocation; and (v)


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programs to generate various reports throughout and at the conclusion of the administration,

including lists of all eligible and ineligible Claims.

       42.     JND also used a variety of fraud protection controls throughout the administration

process to identify potential fraudulent Claims. Duplicate Claim searches, high value reviews, spot

reviews and other standard audit reports that examined the information in a variety of ways were

used during the Claim review process.

       43.     As part of its due diligence in processing the Claims, JND reviewed and compared

the entire database for the Settlement against the “watch list” of known questionable filers that JND

has developed throughout its years of experiences as a Claims Administrator. JND has worked

closely with Law Enforcement to update that watch list with the latest information available. JND

performs searches based on names, aliases, addresses, and city/zip codes. In addition, JND’s claim

processors are trained to identify any potentially inauthentic documentation when processing claims,

including claims submitted by Claimants not previously captured in the “watch list.” Processors are

instructed to message code any claim that matches to a record on the “watch list” and escalate them

to management for review. JND’s Fraud Protection procedures identified one (1) potentially

fraudulent Claim which was subject to further review and verification. The claimant did not

resolve the request for further documentation.

IX.    RECOMMENDATIONS FOR APPROVAL AND REJECTION
       44.     As noted above, JND received a total of 62,545 Claims.

       A.      Timely Submitted and Valid Claims

       45.     A total of 62,181 Claims were received or postmarked on or before the Court-

approved Claim submission deadline of April 3, 2020, of which 2,171 were determined by JND to

be eligible and are recommended for approval (“Timely Eligible Claims”). The total Common Stock

Recognized Loss amount for these Claims is $30,429,526.10 and the total Option Recognized Loss

is $3,851,129.01. A list with the timely Eligible Claims showing each Claimant’s Recognized Claim

is attached hereto as Exhibit C.
       B.      Late But Otherwise Eligible Claims


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       46.      A total of 364 Claims were received or postmarked after the Court-approved Claim

submission deadline of April 3, 2020 but received on or before July 15, 2020. Of those, 56 were

determined by JND to be otherwise eligible and are recommended for approval (“Late But Otherwise

Eligible Claims”).    The total Common Stock Recognized Loss amount for these Claims is

$542,302.09 and the total Option Recognized Loss amount for these Claims is $0.00. A list with the

Late But Otherwise Eligible Claims showing each Claimant’s Recognized Claim is attached hereto

as Exhibit D.

       C.       Rejected Claims

       47.      After the responses to notices of deficiencies were processed, a total of 60,318 Claims

(including the Disputed Claims discussed above) remain recommended for rejection by the Court

(“Rejected Claims”) for the following reasons:

                (a)    46,836 Claim Did Not Result in a Recognized Claim;

                (b)    11,681 Claim Did Not Fit Definition of the Class;

                (c)    1,788 Deficient Claim Never Cured;

                (d)    6 Duplicate Claim; and

                (e)    7 Claim Withdrawn.

       48.      A list of the Rejected Claims with the reasons for rejection is attached hereto as

Exhibit E.
X.     FEES AND DISBURSEMENTS

       49.      JND has agreed to be the Claims Administrator in exchange for payment of its fees

and out-of-pocket expenses. Nevertheless, JND has done its best to keep the cost as low as possible

considering the very high claims filing rate in this case. (Attached as Exhibit F are copies of all JND

invoice for this matter.) JND’s total fees and expenses for this matter through October 30, 2020, are

$714,462.54. The brokerage firms and nominees charged JND another $60,220.50 for their work.

To date, JND has been reimbursed in the amount of $250,000.00. JND respectfully requests payment

of $524,683.04 for unreimbursed fees, expenses and broker fees.




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XI.    DISTRIBUTION PLAN FOR THE NET SETTLEMENT FUND

       50.     Should the Court concur with JND’s determinations concerning the provisionally

accepted and rejected Claims, including the Late But Otherwise Eligible Claims, JND recommends

the following distribution plan (the “Distribution Plan”):

               (a)     JND will conduct an initial distribution (the “Initial Distribution”) of the

                       Net Settlement Fund, after deducting all payments approved by the Court,

                       and after payment of any estimated taxes, the costs of preparing appropriate
                       tax returns, and any escrow fees as follows:

                       (i)     JND will calculate award amounts for all Authorized Claimants as

                               if the entire Net Settlement Fund were to be distributed now. In

                               accordance with the Court-approved Plan of Allocation, JND will

                               calculate each Authorized Claimant’s pro rata share of the Net

                               Settlement Fund in accordance with the Court-approved Plan of

                               Allocation.

                       (ii)    JND will, pursuant to the terms of the Plan of Allocation, eliminate

                               from the Initial Distribution any Authorized Claimant whose pro

                               rata share calculates to less than $10.00.

                       (iii)   After eliminating claimants who would receive less than $10.00,

                               JND will recalculate the pro rata distribution payments for

                               Authorized Claimants who would receive $10.00 or more.

                       (iv)    JND will then conduct the Initial Distribution of the Net Settlement

                               Fund in accordance with the Court’s order

               (b)     In order to encourage Authorized Claimants to promptly deposit their

                       payments, all distribution checks will bear a notation: “CASH
                       PROMPTLY. VOID AND SUBJECT TO REDISTRIBUTION IF NOT




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                       CASHED BY 90 DAYS AFTER ISSUE DATE.”2

               (c)     Authorized Claimants who do not cash their Initial Distribution checks

                       within the time allotted or on the conditions set forth in footnote 2 will

                       irrevocably forfeit all recovery from the Settlement. The funds allocated to

                       all such stale-dated checks will be available to be redistributed to other

                       Authorized Claimants, if Lead Counsel, in consultation with JND,

                       determines that it is cost-effective to conduct a second distribution.

                       Similarly, Authorized Claimants who do not cash their second or

                       subsequent distribution checks (should such distributions occur) within the

                       time allotted or on the conditions set forth in footnote 2 will irrevocably

                       forfeit any further recovery from the Net Settlement Fund.

               (d)     Consistent with the Court-approved Plan of Allocation, after JND has made

                       reasonable and diligent efforts to have Authorized Claimants cash their

                       Initial Distribution checks, which efforts shall consist of the follow-up

                       efforts described in footnote 2, but not earlier than six (6) months after the

                       Initial Distribution, JND will, if Lead Counsel, in consultation with JND,

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   For Authorized Claimants whose checks are returned as undeliverable, JND will endeavor to
locate new addresses by running the undeliverable addresses through address-lookup services.
Where a new address is located, JND will update the database accordingly and reissue a
distribution check to the Authorized Claimant at the new address. In the event an Authorized
Claimant loses or damages his, her, or its check, or otherwise requires a new check, JND will
issue replacements. Distribution reissues will be undertaken only upon written instructions from
the Authorized Claimant, provided that the Authorized Claimant returns the previous check where
appropriate. For all checks, JND will void the initial payment prior to reissuing a payment. In
order not to delay further distributions to Authorized Claimants who have timely cashed their
checks, JND’s outreach program, described in the preceding sentences, shall end 30 days after
the initial void date. Authorized Claimants will be informed that, if they do not cash their Initial
Distribution checks within 90 days of the mail date, or they do not cash check reissues within 30
days of the mailing of such reissued check, their check will lapse, their entitlement to recovery
will be irrevocably forfeited, and the funds will be reallocated to other Authorized Claimants.
Reissue requests for lost or damaged checks will be granted after the void date on the checks as
long as the request for the reissue is received no later than 45 days prior to the next planned
distribution. Requests for reissued checks in connection with any subsequent distributions
(should such distributions occur) will be handled in the same manner.


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          determines that it is cost-effective to do so, conduct a second distribution of

          the Net Settlement Fund (the “Second Distribution”).            Any amounts

          remaining in the Net Settlement Fund after the Initial Distribution (the funds

          for all void stale-dated checks), after paying any amounts mistakenly

          omitted from the initial disbursement, after deducting JND’s fees and

          expenses incurred in connection with administering the Settlement for

          which it has not yet been paid (including JND’s estimated costs of the

          Second Distribution and those of Lead Counsel as may be approved by the

          Court), and after deducting the payment of any estimated taxes, the costs

          of preparing appropriate tax returns, and any escrow fees, will be distributed

          to all Authorized Claimants in the Initial Distribution who cashed their first

          distribution check and who would receive at least $10.00 from such

          distribution based on their pro rata share of the remaining funds. Additional

          distributions, after deduction of costs and expenses as described above and

          subject to the same conditions, may occur thereafter in 6-month intervals

          until Lead Counsel, in consultation with JND, determines that further

          distribution is not cost-effective.

    (e)   At such time as Lead Counsel, in consultation with JND, determines that
          further distribution of the funds remaining in the Net Settlement Fund is not

          cost-effective, if sufficient funds remain to warrant the processing of Claims

          received after July 15, 2020, such Claims will be processed, and any such

          Claims that are otherwise valid as well as any earlier received Claims for

          which an adjustment was received after July 15, 2020, which resulted in an

          increased Recognized Claim, will be paid in accordance with ¶ 50(f) below.

          If any funds remain in the Net Settlement Fund after payment of such late

          or late-adjusted Claims, the remaining balance of the Net Settlement Fund,
          after payment of any unpaid fees or expenses incurred in connection with


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                    administering the Net Settlement Fund and after the payment of any

                    estimated taxes, the costs of preparing appropriate tax returns, and any

                    escrow fees, will be contributed as instructed by Lead Counsel, subject to

                    the Court’s approval.

             (f)    No new Claims may be accepted after July 15, 2020, and no further

                    adjustments to Claims received on or before July 15, 2020, that would result

                    in an increased Recognized Claim amount may be made for any reason after

                    July 15, 2020, subject to the following exception. If Claims are received

                    after July 15, 2020 or modified after July 15, 2020, that would have been

                    eligible for payment or additional payment under the Plan of Allocation if

                    timely received, then, at the time that Lead Counsel, in consultation with

                    JND, determines that a redistribution is not cost-effective as provided in ¶

                    50(e) above, and after payment of any unpaid fees or expenses incurred in

                    connection with administering the Net Settlement Fund and after deducting

                    the payment of any estimated taxes, the costs of preparing appropriate tax

                    returns, and any escrow fees, such Claimants, at the discretion of Lead

                    Counsel, may be paid the distribution amounts or additional distribution

                    amounts on a pro rata basis that would bring them into parity with other
                    Authorized Claimants who have cashed all their prior distribution checks to

                    the extent possible.

             (g)    Unless otherwise ordered by the Court, one year after the Second

                    Distribution, if that occurs, or, if there is no Second Distribution, two years

                    after the Initial Distribution, JND may destroy the paper copies of the

                    Claims and all supporting documentation, and one year after all funds have

                    been distributed, JND may destroy electronic copies of the same.

XII.   CONCLUSION
       51.   JND respectfully requests that the Court enter an Order approving its administrative


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